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United States v. Reality Leigh Winner
CR 117-34

Government’s Response to Defendant’s
Motion to Suppress

Attachment F — Sketch of
Defendant’s Home Created
June 3, 2017
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DIAGRAM/SKETCH

PAGE | OF 2

GENERAL INFORMATION

DATE Ob/e3/aci7
case 1p MAT: 2178932
LOCATION _/95-7 LB te ft:

REFERENCE

PREPARER/ASSISTANTS My Cl $ Lickel a neg

SCALE or DISCLAIMER

COMPASS ORIENTATION

EVIDENCE

FIXED OBJECTS
MEASUREMENTS
KEY/LEGEND

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